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In the Guited States Court of Federal Clauns

No. 19-1616C

(Filed: December 13, 2019)

 

 

)

RICHARD E., TRICE, )
)

Plaintiff, )

)

Vv. )
)

THE UNITED STATES, )
)

Defendant. )

)

ORDER

 

On October 30, 2019, the court ordered “plaintiff to pay the $400 filing fee in full
within thirty days,” on or before November 29, 2019. ECF No. 7 at 2. In the order, the
court informed plaintiff that “[fJailure to comply with this order will result in the
dismissal of his complaint for failure to prosecute.” Id. (citing Rule 41(b) of the Rules of
the United States Court of Federal Claims (RCFC)). Although the court has received a
number of filings from plaintiff since the entry of the court’s October 30, 2019 order, he
has not submitted a filing fee.

On December 2, 2019, the clerk’s office received a motion from plaintiff “to
change name of lead plaintiff(s) to Shawndra Garatt,” and to allow the case “to proceed
in forma pauperis.” The clerk’s office is directed to FILE plaintiff's motion on the
docket, as a motion to substitute plaintiff, with leave of court. Once filed, plaintiff's
motion is DENIED. Neither plaintiffs motion nor the existing record in this case
indicate that Shawndra Garatt has any connection with the matters addressed by plaintiff
in his complaint. As such, the court will not permit plaintiff to avoid the bar against his
proceeding in forma pauperis by simply naming a relative as the plaintiff in his stead.

Accordingly, the clerk’s office is directed to ENTER final judgment
DISMISSING plaintiff's complaint with prejudice, pursuant to RCFC 41(b), for failure
to prosecute. The clerk’s office is further directed to REJECT any future filings from
plaintiff that are not in compliance with this court’s rules without further order of the
court.
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PATRICIA E. CAMPBELL}SMITH 4
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IT IS SO ORDERED. 4
